  Case: 6:21-cr-00010-CHB-HAI            Doc #: 53 Filed: 07/15/21           Page: 1 of 2 - Page
                                            ID#: 134



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                      (at London)

 UNITED STATES OF AMERICA,                        )
                                                  )
         Plaintiff,                               )      Criminal Action No. 6:21-CR-010-CHB-1

 v.                                               )
                                                  )          ORDER ADOPTING
 KENNETH C. TOLLIVER,                             )        RECOMMENDATION OF
                                                  )     ACCEPTANCE OF GUILTY PLEA
         Defendant.                               )
                                                  )

                                      *** *** *** ***
       This matter is before the Court on the Recommendation of Acceptance of Guilty Plea

filed by United States Magistrate Judge Hanly A. Ingram [R. 51]. The recommendation

instructed the parties to file any specific written objections within three (3) days, or else waive

the right to further review. See id. at 3. Neither party has objected to Magistrate Judge Ingram’s

recommendation, and the time to do so has now passed. Defendant Tolliver did file a consent to

plead before the United States Magistrate Judge. [R. 49].

       Upon review, the Court is satisfied that Defendant Kenneth C. Tolliver knowingly and

competently pled guilty to the charged offenses and that an adequate factual basis supports the

plea as to each essential element of the offenses charged. Accordingly, and the Court being

otherwise sufficiently advised,

       IT IS HEREBY ORDERED as follows:

       1.       Judge Ingram’s Recommendation of Acceptance of Guilty Plea [R. 51] is

ADOPTED as and for the opinion of this Court;

       2.       Defendant Kenneth C. Tolliver is ADJUDGED guilty of Count 1 of the


                                                -1-
  Case: 6:21-cr-00010-CHB-HAI             Doc #: 53 Filed: 07/15/21      Page: 2 of 2 - Page
                                             ID#: 135



Indictment;

       3.      The Defendant’s Jury Trial and all other pre-trial proceedings are hereby

CANCELLED and STRICKEN from the Court’s docket; and

       4.      A Sentencing Order shall be entered promptly.

       This the 15th day of July, 2021.




                                               -2-
